70 F.3d 112
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Marilyn JUDY, Plaintiff-Appellant,v.Shirley S. CHATER, Commissioner of Social Security,Defendant-Appellee.
    No. 95-2339.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 31, 1995.Decided Nov. 17, 1995.
    
      Keith O'Brien Brown, PALMETTO LEGAL SERVICES, INC., Orangeburg, South Carolina, for Appellant.  Ronald Lamar Paxton, UNITED STATES DEPARTMENT OF HEALTH &amp; HUMAN SERVICES, Atlanta, Georgia, for Appellee.
      Before WIDENER and HAMILTON, Circuit Judges, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant noted this appeal outside the sixty-day appeal period established by Fed.  R.App. P. 4(a)(1), failed to obtain an extension of the appeal period within the additional thirty-day period provided by Fed.  R.App. P. 4(a)(5), and is not entitled to relief under Fed.  R.App. P. 4(a)(6).  The time periods established by Fed.  R.App. P. 4 are "mandatory and jurisdictional."  Browder v. Director, Dep't of Corrections, 434 U.S. 257, 264 (1978) (quoting United States v. Robinson, 361 U.S. 220, 229 (1960)).  The district court entered its order on April 24, 1995.  Appellant's notice of appeal was filed on June 28, 1995.  Appellant's failure to note a timely appeal or obtain an extension of the appeal period deprives this court of jurisdiction to consider this case.  We therefore grant the motion to dismiss the appeal and dismiss the appeal.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    